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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



THE CONSTITUTION PARTY                           :    CIVIL ACTION
OF PENNSYLVANIA, et al.,                         :
                                                 :
                        Plaintiffs,              :
                                                 :
                      v.                         :
                                                 :
CAROL AICHELE, et al.,                           :
                                                 :
                        Defendants.              :    NO. 12-2726


                                               ORDER

        AND NOW, this 1st day of February, 2018, upon consideration of the Third Circuit’s

opinion in Constitution Party of Pa. v. Cortes, 877 F.3d 480 (3d Cir. 2017) and the parties’ joint

proposed modifications to this court’s June 30, 2016 order (Doc. No. 97), IT IS HEREBY

ORDERED that the parties’ request for this court to adopt their proposed modifications is

GRANTED as follows:

        This order shall replace the order I issued on June 30, 2016. (Doc. No. 97.)

        Until such time as the Pennsylvania Legislature enacts a permanent measure amending or

modifying the process to place the plaintiff political bodies on the general election ballot and this

change is signed by the Governor of Pennsylvania, the following rules shall apply to the plaintiff

political bodies with respect to securing placement of their candidates on the general election

ballot in Pennsylvania.

        1.      Candidates for the offices listed below shall present to the Secretary of the

Commonwealth every August 1 nomination papers containing at least as many valid signatures

of qualified electors of the state or the electoral district, as the case may be, as listed below:
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                a. President of the United States: Five thousand.

                b. United States Senate: Five thousand.

                c. Governor: Five thousand.

                d. Lieutenant Governor: Two thousand five hundred.

                e. Treasurer: Two thousand five hundred.

                f. Auditor General: Two thousand five hundred.

                g. Attorney General: Two thousand five hundred.

                h. Justice of the Supreme Court: Two thousand five hundred.

                i. Judge of the Superior Court: Two thousand five hundred.

                j. Judge of the Commonwealth Court: Two thousand five

                     hundred.

                k. For any other office to be filled by the vote of the

                     electors of the state at large: Two thousand five hundred.

        2. Candidates for non-statewide offices shall present to the Secretary of the

Commonwealth by August 1 nomination papers containing at least as many valid signatures of

qualified electors of the state or the electoral district, as the case may be, as set forth by

25 P.S. § 2911(b).

        3.      No candidate of the plaintiff political bodies shall be assessed costs under

25 P.S. § 2937.

        4.      This Order is intended to replace the signature requirement imposed by

25 P.S. § 2911(b). The defendants are enjoined from enforcing this signature requirement in

conjunction with the objection procedure set forth in 25 P.S. § 2937 as applied to nomination
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papers submitted by the plaintiffs Constitution Party of Pennsylvania, Green Party of

Pennsylvania and Libertarian Party of Pennsylvania and by their candidates for office.

       5. All other provisions of the Pennsylvania Election Code that do not conflict with this

Order continue to apply to the candidates of the plaintiff political bodies.




                                                               BY THE COURT:


                                                               /s/ Lawrence F. Stengel
                                                               LAWRENCE F. STENGEL, C.J.
